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            IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                      OFFICE OF SPECIAL MASTERS
                                              No. 14-238V
                                          Filed: July 29, 2014
                                          (Not to be published)

****************************
LINDA LEGGETT,                             *
                                           *
                     Petitioner,           *            Conceded; Influenza Vaccine;
      v.                                   *            Shoulder Injury related to vaccine
                                           *            administration [SIRVA]; Proffer
SECRETARY OF HEALTH                        *            on Damages
AND HUMAN SERVICES,                        *
                                           *
                     Respondent.           *
****************************
Maximillian Muller, Esq., Muller Brazil, LLP, Philadelphia, PA for petitioner.
Linda Renzi, Esq., U.S. Dept. of Justice, Washington, DC for respondent.

                                     DECISION ON DAMAGES1

Gowen, Special Master:

         On March 27, 2014, Linda Leggett [“petitioner”] filed a petition for compensation
under the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et
seq.2 [the “Vaccine Act” or “Program”]. The petition alleges that petitioner received the
influenza vaccine on October 19, 2012, and thereafter suffered a shoulder injury which
was caused-in-fact by the influenza vaccine. Petition at 1. On July 3, 2014, respondent
filed her Rule 4(c) report [“Respondent’s Report”], in which she concedes that petitioner
is entitled to compensation in this case. Respondent’s Report at 4. I issued a Ruling on
Entitlement on July 10, 2014.

       On July 28, 2014, respondent filed a proffer on award of compensation, which
indicated that petitioner agreed to the compensation amount. Additionally, petitioner’s

1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, I intend to
post this ruling on the United States Court of Federal Claims' website, in accordance with the E-
Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44
U.S.C. § 3501 note (2006)). In accordance with Vaccine Rule 18(b), petitioner has 14 days to identify and
move to delete medical or other information, the disclosure of which would constitute an unwarranted
invasion of privacy. If, upon review, I agree that the identified material fits within this definition, I will
delete such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C.
§ 300aa (2006).
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counsel was contacted by my chambers on July 28, 2014, where he confirmed
petitioner’s agreement with the proposed compensation amount contained within the
filed Proffer.

       Pursuant to the terms stated in the attached Proffer, I award petitioner a lump
sum payment of $115,000.00 in the form of a check payable to petitioner, Linda
Leggett. This amount represents compensation for all damages that would be
available under § 300aa-15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.
                                                s/Thomas L. Gowen
                                                Thomas L. Gowen
                                                Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party filing a notice
renouncing the right to seek review.



                                                    2
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                      IN THE UNITED STATES COURT OF FEDERAL CLAIMS

                                OFFICE OF SPECIAL MASTERS


LINDA LEGGETT,                  )
                                )
                  Petitioner,   )   No. 14-238V
                                )   Special Master
          v.                    )   Thomas L. Gowen
                                )   ECF
SECRETARY OF HEALTH             )
AND HUMAN SERVICES,             )
                                )
                  Respondent.   )
                                )

           RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

    I.         Compensation for Vaccine Injury-Related Items:

    Respondent proffers that, based on the evidence of record, petitioner should be

awarded $115,000.00. This amount represents all elements of compensation to which

petitioner would be entitled under 42 U.S.C. § 300aa-15(a)(1); §15(a)(3)(B); and

§15(a)(4). Petitioner agrees.

    II.        Form of the Award:

    The parties recommend that the compensation provided to Linda Leggett should be

made through a lump sum payment as described below, and request that the special

master’s decision and the Court’s judgment award the following:1

    A. A lump sum payment of $115,000.00 in the form of a check payable to petitioner,
       Linda Leggett. This amount accounts for all elements of compensation under 42
       U.S.C. § 300aa-15(a) to which petitioner would be entitled.

    Petitioner is a competent adult. Evidence of guardianship is not required in this case.




1
  Should petitioner die prior to entry of judgment, the parties reserve the right to move
the Court for appropriate relief. In particular, respondent would oppose any award for
future medical expenses and future pain and suffering.


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                             Respectfully submitted,

                             STUART F. DELERY
                             Assistant Attorney General

                             RUPA BHATTACHARYYA
                             Director
                             Torts Branch, Civil Division

                             VINCENT J. MATANOSKI
                             Deputy Director
                             Torts Branch, Civil Division

                             LYNN E. RICCIARDELLA
                             Senior Trial attorney
                             Torts Branch, Civil Division

                             s/ Linda S. Renzi
                             LINDA S. RENZI
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DATED: July 28, 2014




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